 Case 2:12-md-02327 Document 503-1 Filed 04/05/13 Page 1 of 1 PageID #: 5487


                                 UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF WEST VIRGINIA
                                             CHARLESTON DIVISION
----------------------------------------------------------- x
IN RE ETHICON, INC., PELVIC REPAIR                           : CIVIL ACTION NO. 2:12-md-02327
SYSTEM PRODUCTS LIABILITY                                    : MDL No. 2327
LITIGATION                                                   :
------------------------------------------------------------ : Judge Joseph R. Goodwin
This Document Applies To All Actions                         :
------------------------------------------------------------ X

To:    Christy D. Jones, Esq.
       Butler, Snow, O’Mara Stevens & Cannada, PLLC
       1020 Highland Colony Parkway
       Suite 1400
       Ridgeland, MS 39157
       601-948-5711

                    PLAINTIFFS’ CERTIFICATE OF SERVICE OF
                 NOTICE TO TAKE ORAL DEPOSITION OF BOB RODA

       I hereby certify that on April 5, 2013, I served Plaintiff’s Notice to Take Oral Deposition

of Bob Roda via email and the foregoing document was electronically filed with the Clerk of the

Court using the CM/ECF system which will send notification of such filing to the CM/ECF

participants registered to receive service in this MDL.

                                      By: ____/s/Thomas P. Cartmell_______________
                                         THOMAS P. CARTMELL
                                         Wagstaff & Cartmell LLP
                                         4740 Grand Avenue, Suite 300
                                         Kansas City, MO 64112
                                         816-701-1102
                                         Fax 816-531-2372
                                         tcartmell@wcllp.com

                                          D. RENEE BAGGETT
                                          Aylstock, Witkin, Kreis and Overholtz, PLC
                                          17 E. Main Street, Suite 200
                                          Pensacola, FL 32563
                                          850-202-1010
                                          850-916-7449
                                          Rbaggett@awkolaw.com
                                           Plaintiffs’ Co-Lead Counsel
